          Case 1:18-vv-00824-UNJ Document 65 Filed 06/09/21 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-824V
                                      (not to be published)

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                                *
    MARY LIGOURI,               *
                                *
                                *                         Filed: April 15, 2021
                    Petitioner, *
                                *
    v.                          *
                                *                         Ruling on Entitlement; Influenza (“Flu”)
                                *                         Vaccine; Guillain-Barré syndrome
    SECRETARY OF HEALTH AND     *
    HUMAN SERVICES,             *
                                *
                                *
                    Respondent. *
                                *
    ************************* *

Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioner
Sarah Duncan, U.S. Department of Justice, Washington, DC, for Respondent

                                   RULING ON ENTITLEMENT1

        On June 12, 2018, Mary Ligouri (“Petitioner”) filed a petition, seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF No. 1.
Petitioner alleges that she developed Guillain-Barré syndrome as a result of the influenza (“flu”)
vaccination she received on January 3, 2018. Pet. at 1-3, ECF No. 1.




1
  Although this Ruling has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Ruling will be available to anyone with access to the internet. As provided
by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Ruling’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days
within which to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine
Rule 18(b). Otherwise, the Ruling in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
          Case 1:18-vv-00824-UNJ Document 65 Filed 06/09/21 Page 2 of 2




       On April 20, 2020, Petitioner filed an expert report from Dr. Peter-Brian Andersson, a
board-certified neurologist, which addressed Petitioner’s symptoms prior to her January 3, 2018
vaccination. Ex. 17.

        On October 2, 2020, in an Amended Rule 4(c) Report, Respondent stated his position is
that “petitioner has now satisfied the criteria set forth in the Vaccine Injury Table and QAI, which
afford[s] petitioner a presumption of causation if the diagnosis of GBS is sound; the onset of GBS
occurs between three and forty-two days after a seasonal flu vaccination; and, there is no identified
more likely alternative diagnosis.” Am. Resp’t’s Rep. at 2-3; see also 42 C.F.R. §
100.3(a)(XIV)(D), (c)(15). Respondent requested a ruling on the record regarding Petitioner’s
entitlement to compensation.

        In view of Respondent’s position and the evidence of record, I find that the Petitioner
is entitled to compensation.

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master
